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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHER DISTRICT OF TEXAS
                                  HOUSTON DIVISION

THE ESTATE OF ALTHEA BROWN – §
DECEASED and JESSE ARPS –    §
SUCCESSOR IN INTERESET TO    §
ALTHEA BROWN                 §
                             §
v.                           §                         CIVIL ACTION NO. 4:22-CV-3824
                             §
PHH MORTGAGE CORPORATION     §


                       MOTION TO DISMISS WITHOUT PREJUDICE


TO THE HONORABLE JUDGE OF SAID COURT:

        Pursuant to Texas Rules of Civil Procedure, Plaintiff hereby files his Motion to Dismiss

without prejudice and would respectfully show the Court as follows:

        1.     Plaintiff filed his Original Petition, Application for Injunctive Relief, and

Request for Disclosures in the 152nd Judicial Court of Harris County, Texas on September 1,

2022.

        2.     Plaintiff no longer wishes to pursue his causes of action against Defendant at this

time.

        3.     Accordingly, Plaintiff request that the Court dismiss this lawsuit without prejudice

against filing the same in the future.

        4.     Defendant is not opposed to this filing or the relief requested herein.



        WHEREFORE, PREMISES CONSIDERED, Plaintiff request that the Court enter the

attached Order dismissing the above-entitled and numbered cause without prejudice, with costs of

court being assessed against the party incurring same.
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                                              Respectfully Submitted by,

                                                     Law Office of Erick DeLaRue, PLLC

                                              By:     /s/ Erick DeLaRue
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                                                     Email: erick.delarue@delaruelaw.com

                                                     ATTORNEY FOR PLAINTIFF


                              CERTIFICATE OF CONFERENCE

       I hereby certify that a conference was had with Defendant’s counsel on April 5, 2023
regarding the merits of this motion and they are not opposed.


                                                     /s/ Erick DeLaRue
                                                       ERICK DELARUE


                                 CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing has been sent to all counsel of record
     in accordance with the Texas Rules of Civil Procedure on this the 6th day of April, 2023.



                                                     /s/ Erick DeLaRue
                                                       ERICK DELARUE
